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EXHIBIT 1
Case 1:18-cv-02032-CFC-CJB Document 27-1 Filed 05/23/19 Page 2 of 46 PagelD #: 631

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

 

PAR PHARMACEUTICAL, INC. PAR
STERILE PRODUCTS, LLC, and ENDO =)-~—sC CA. No. 18-2032-CFC

PAR INNOVATION COMPANY, LLC, )

Plaintiffs,

)

v. )

)

AMPHASTAR PHARMACEUTICALS, )

INC., )

)

Defendant. :

)

AVERMENT

Pursuant to the Court’s procedures regarding disputes relating to discovery matters and
protective orders and D. Del. LR 7.1.1, counsel avers that the parties made a reasonable effort to
resolve the subject matter of this dispute, and that such effort included oral communication

involving Delaware counsel for the parties.
Of Counsel

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Dated: May 16, 2019

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EXHIBIT 2
Case 1:18-cv-02032-CFC-CJB Document 27-1 Filed 05/23/19 Page 5 of 46 PagelD #: 634

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

PAR PHARMACEUTICAL, INC., PAR
STERILE PRODUCTS, LLC and ENDO
PAR INNOVATION COMPANY, LLC,

Plaintiffs, C.A. No. 18-2032-CFC

v.

AMPHASTAR PHARMACEUTICALS INC.,

Defendant.

 

[PROPOSED] PROTECTIVE ORDER

WHEREAS the Parties agree that the nature of this case will require them to seek and
produce documents and information, and elicit deposition testimony, the disclosure of which
poses a substantial risk of harm to the Producing Party’s legitimate proprietary interests;

WHEREAS the Parties agree that a protective order is necessary to minimize the harm
flowing from the disclosure of sensitive information; and

WHEREAS the Parties agree to the terms of this Order to protect their confidential
documents, things and information;

IT IS HEREBY ORDERED THAT the Parties and any non-party subject to discovery in
this action are bound by the terms of this Protective Order governing the production of
Confidential Information in this action.

1. Scope of Protective Order: This Protective Order applies to all Discovery
Materials produced by a Producing Party in connection with this action. In addition, this
Protective Order allows for the filing of documents with the Court under seal, subject to any
applicable Local Court Rule or CM/ECF procedure, if such documents contain Confidential
and/or Highly Confidential Information. This Protective Order shall apply regardless of whether
such information was produced prior to or after entry of this Protective Order.

2. Definitions:

(a) The term “Confidential Information” means any confidential, proprietary,
or commercially sensitive information, which is not generally known and
which the Producing Party would not normally reveal to third parties or
would cause third parties to maintain in confidence and/or which the
Producing Party reasonably and in good faith believes is of the type
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(b)

protectable under Rule 26(c)(1)(G) of the Federal Rules of Civil Procedure
or is required to be kept Confidential by law or by agreement with a third
party or otherwise. “Confidential Information” shall not include: (i)
materials that show on their face that they have been disseminated to the
public; (ii) information that the Producing or Designating Party agrees, or
the Court rules (a) is already public knowledge, (b) has become public
knowledge other than as a result of disclosure by the Receiving Party, its
employees or agents in violation of this Protective Order, or (c) has come
into the Receiving Party’s legitimate knowledge or possession
independently of the Producing Party under conditions such that its use
and/or public disclosure by the Receiving Party would not violate any
obligation to the Producing Party; or (iii) materials that have been
designated “Highly Confidential” under this Protective Order. Any
summary, compilation, notes, memoranda, analysis or copy containing
Confidential Information and any electronic image or database containing
Confidential Information shall be considered Confidential Information to
the same extent as the material or information from which such summary,
compilation, notes, copy, memoranda, analysis, electronic image, or
database is derived.

The term “Highly Confidential — Outside Counsel’s Eyes Only
Information” shall include and be limited to the following specific
categories of particularly competitive and sensitive business information:

(i) Proprietary information, such as, without limitation, Abbreviated
New Drug Applications (““ANDA”) (including any supplements or
amendments), New Drug Applications (“NDA”), Drug Master
Files (“DMF”), research and development information (including,
for example, laboratory notebooks), and non-public regulatory
filings;

(ii) The purchase price, purchase date, and quantity for the active
ingredient;

(iii) | Highly sensitive business competitive marketing plans, market
research and business strategy documents, including research
regarding competitors, relating to the vasopressin market;

(iv) | Forecasted and/or actual sales of a party’s vasopressin product, the
number of products sold, total dollar value of products sold, and
any profit or expense data, including profit margins;

(v) Identity of current or prospective customers and distributors of a
party’s vasopressin product; and
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(c)

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(c)

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(h)

(vi) | Such other information as may be agreed by the parties, or ordered
by the Court on motion by the Producing Party, to be sufficiently
commercially sensitive as to warrant such designation.

(vii) Any summary, compilation, notes, memoranda, analysis or copy
containing Highly Confidential - Outside Counsel’s Eyes Only
Information and any electronic image or database containing
Highly Confidential - Outside Counsel’s Eyes Only Information
shall be considered Highly Confidential - Outside Counsel’s Eyes
Only Information to the same extent as the material or information
from which such summary, compilation, notes, copy, memoranda,
analysis, electronic image, or database is derived.

The term “Discovery Material” means any documents, tangible or
intangible information, or things (including, without limitation, any
writings, video or audio tapes, computer-generated or recorded
information in any form, materials, oral or written testimony,
interrogatories, answers to interrogatories, requests for admission,
responses to requests for admission, document requests, responses to
document requests, deposition notices, deposition testimony, deposition
transcripts and exhibits, and other responses to requests for information or
any tangible thing) produced or disclosed by a Party or non-party in this
action.

The term “Designated Material” shall mean any Discovery Material
designated by a Producing Party as Confidential or Highly Confidential -
Outside Counsel’s Eyes Only Information.

The term “Designating Party” means any Party or Person who designates
Discovery Material as “Confidential” or “Highly Confidential - Outside
Counsel’s Eyes Only.”

The term “Producing Party” means any Party or Person who produces or
discloses any Discovery Material.

The term “Recetving Party” means any Person to whom Confidential
Information is disclosed in this action.

The terms “Parties” or “Party” mean the following plaintiffs and/or
defendants in this civil action: Par Pharmaceutical, Inc., Par Sterile
Products, LLC, Endo Par Innovation Company, LLC, and Amphastar
Pharmaceuticals, Inc., and any other parties that may hereafter be named
as additional plaintiffs or defendants in this action. In the event of
consolidation of this action with any action, the parties added to this action
will not be considered “Parties” or a “Party” for purposes of this
Protective Order, without agreement by all original Parties to this
Protective Order. The Parties to this Protective Order agree to meet and
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confer as needed in order to negotiate terms and/or revisions to this
Protective Order that may be necessary to accommodate the addition of a
consolidated party to the Protective Order.

The term “Person” means any natural person or any business, legal or
governmental entity or association.

The term “Outside Counsel” means litigation counsel of record for the
Parties, including associated personnel necessary to assist outside counsel
in this action, such as legal assistants, paralegals, secretarial, stenographic,
information technology and clerical employees actually assisting such
counsel; outside vendors that scan, code and/or produce documents at such
counsel’s request; translation services; computer services; and trial
consultants, their employees, and independent contractors hired to assist
them, other than those persons described in paragraph 2(i)(iii) below.

3, Designation of Confidential and/or Highly Confidential - Outside Counsel’s
Eyes Only Information:

(a)

(b)

(c)

Discovery Material, or any relevant portion of any letter, brief, motion,
affidavit, discovery response, discovery request, or other pleading, may be
designated by any Producing Party as “Confidential” or “Highly
Confidential-Outside Counsel’s Eyes Only,” provided the material meets
the definitions thereof provided herein.

Such designations shall be made or supervised by an attorney and shall be
based on a good faith belief that Designated Materials are entitled to
protection under the terms of this Protective Order. Any information
supplied in documentary or other tangible form may be designated by the
Producing Party, or other Person claiming that the information is
Confidential or Highly Confidential Information, by placing or affixing on
each page of such Document, or on the face of such thing, the legend
“CONFIDENTIAL — PURSUANT TO PROTECTIVE ORDER” or
“HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL’S EYES ONLY —
PURSUANT TO PROTECTIVE ORDER” respectively. Information,
documents, articles and things previously produced under protective
orders in other cases that bear appropriate confidentiality markings from
such other cases, need not be stamped again; such material stamped
“Confidential Information” produced in this litigation will be treated as
Confidential Information, and such material stamped “Highly Confidential
— Attorneys’ Eyes Only” produced in this litigation will be treated as
Highly Confidential - Outside Counsel’s Eyes Only Information, in
accordance with the terms of this Protective Order.

Designated Testimony: Testimony obtained from a deposition or hearing
may be designated “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -
OUTSIDE COUNSEL’S EYES ONLY” when appropriate, either on the
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record at the deposition or hearing or by letter or by email to all counsel of
record and the reporter within twenty (20) days after receipt of the final
(i.e., not “draft” or “rough”) transcript. Subject to any requirements of the
Court, the reporter for any deposition or hearing shall affix a mark of
“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - OUTSIDE
COUNSEL’S EYES ONLY” to pages that contain testimony designated
as such. All such transcripts shall be treated as Highly Confidential -
Outside Counsel’s Eyes Only until designated otherwise or until the time
to so designate has expired as set forth in this provision, whichever is
later.

4. Publicly Available Material: Discovery Material that has been produced to or
prepared by or for, any government agency that is available to the public, either by the Freedom
of Information Act or any other federal or state law, and Discovery Material which is otherwise
available to the public from any source, should not be designated as “Confidential” or “Highly
Confidential-Outside Counsel’s Eyes Only.” Ifa Party receives material designated
“Confidential” or “Highly Confidential-Outside Counsel’s Eyes Only” that the Party believes
falls under this Paragraph, the Party may challenge the designation and request relief from the
Court, after conferring in good faith with Outside Counsel for the Producing Party. If the Party
seeks relief from the Court, until the Court rules on the requested relief, the Discovery Material
shall be treated as “Confidential” or “Highly Confidential-Outside Counsel’s Eyes Only,” as the
case may be. The Designating Party bears the burden of establishing the confidentiality of the
so-designated materials.

5: Restriction on Disclosure and Use of Designated Materials: Except with the
prior written consent of the Designating Party, or as provided in this Protective Order, Discovery
Material designated as “Confidential” or “Highly Confidential - Outside Counsel’s Eyes Only”
may not be disclosed to any Party or Person by the Receiving Party. Any information designated
as “Confidential” or “Highly Confidential-Outside Counsel’s Eyes Only” shall be maintained in
confidence by any Receiving Party.

6. Access to Confidential Materials: “Confidential Information” shall be available
only to the following persons, subject to the terms of Paragraph 8:

(a) Outside Counsel;

(b) up to two (2) in-house counsel of a Party responsible for managing this
litigation as reasonably necessary to the litigation of this action, who are
specifically identified in Paragraph 8(b) herein or are later identified in
accordance with the terms of the Protective Order, and who agree to be
bound by the terms of the Protective Order by signing the attached
Undertaking, and paralegals or secretaries who support such in-house
counsel;

(c) outside independent experts and consultants of the Parties who are
assisting Outside Counsel in this action and any necessary assistants and
stenographic and clerical employees under their direct supervision and
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(d)

(e)

(f)

employed by them or their employer or organization, provided that any
applicable requirements of Paragraph 8(a) below are satisfied;

any mediators agreed upon by the Parties, including regularly employed
support personnel of the mediator (such as administrative assistants,
secretaries, clerical and administrative staff) as necessarily incident to the
mediation process;

the Court, its personnel, jurors and alternate jurors, and court reporters,
stenographers and videographers transcribing or recording testimony at

depositions, hearings or trial in this Action; and

any other person with prior written consent of the Producing Party.

t Access to Highly Confidential - Outside Counsel’s Eyes Only Materials:
“Highly Contidential Information” shall be available only to the persons identified in Paragraph
6(a), (c), (d), (e), and (f), subject to the terms of Paragraph 8:

8. Disclosure of Confidential Information:

(a)

(b)

(c)

Prior to any disclosure of Designated Materials pursuant to Paragraphs 6
and/or 7, the relevant requirements of Paragraph 8 below shall be satisfied,
including that each such recipient shall read this Protective Order and sign
the Undertaking attached hereto. The Party that has retained, or disclosed
Designated Materials to, a recipient pursuant to Paragraphs 6 and/or 7
shall retain a copy of the executed Undertaking(s) until the final resolution
of this action.

Any person who receives Designated Materials pursuant to Paragraphs 6
and/or 7 shall have no current involvement and shall not have involvement
for the duration of this litigation in any of the following activities: (i) the
prosecution of any patent or patent application concerning vasopressin, not
including post-grant review proceedings, including inter partes reviews
(IPRs) or post-grant reviews (PGRs); and (ii) the preparation or
submission of any FDA documents (including but not limited to Citizen
Petitions), or any similar documents in any foreign country, regarding
approval requirements relating to vasopressin.

Independent Experts and Consultants. The following applies for each
independent expert and consultant, including nontestifying experts and
consultants, described in Paragraphs 6 and 7 above to whom Designated
Material is to be disclosed in any way:

(i) Such expert or consultant shall first read this Protective Order and
sign the Undertaking attached hereto.
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(iii)

(iv)

At least five (5) business days prior to the Receiving Party
disclosing Designated Materials to any expert or consultant, the
Receiving Party shall deliver (by electronic mail) to all other
Parties a copy of the signed Undertaking, a resume or curriculum
vitae and a description setting forth the person’s (1) name,

(2) residence and office addresses, (3) present employer, job title
and job description, (4) any consulting activities (litigation and
non-litigation) within the last five years relating to vasopressin or
any product or composition containing vasopressin, (5) a list of
cases in which the person has testified (including by declaration,
report, or at trial or deposition) within the last five years, (6) any
past or present relationship with any Party, and (7) a brief job
history for the past five years.

Ifa Party has a good faith basis for believing it would be harmed
by the proposed disclosure, the Party shall object to such
disclosure within five (5) business days after service of the
information called for in Paragraph 8(a)(ii). Objections must be in
writing and state with particularity the basis for the objection.

In the event of such an objection, the Parties shall meet and confer
within three (3) business days to attempt to resolve the concerns
giving rise to the objection. Ifthe parties are unable to reach an
agreement regarding such disclosure, the Party objecting to
disclosure may, within five (5) business days of the meet and
confer, request that the Court issue an order barring such
disclosure. The objecting Party shall have the burden of showing
why that person should not have access to Designated Materials.
Pending resolution of any such motion or application, no
disclosure of Designated Materials shall be made to that person.
The filing and pendency of such motion shall not limit, delay or
defer any disclosures of Designated Materials to persons as to
whom no such objection has been made.

(d) Designated In-House Counsel, The following applies for each in-house
counsel designated under the terms of this Order:

i)

Subject to the requirements set forth herein, the in-house counsel
described in Paragraph 6 above who may have access to
Confidential Information (but who may not have access to Highly
Confidential - Outside Counsel’s Eyes Only Information) in accord
with the provisions of this Protective Order are:

i. For Plaintiffs — In House Counsel:

ly Lawrence Brown
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(il)

(iii)

(iv)

(v)

2. Matthew Malleta

ii. For Amphastar Pharmaceuticals, Inc. — In House
Counsel:

l. [To be identified. ]
2 [To be identified. |

Prior to any Confidential Information being provided to any in-
house counsel identified above, each such person shall read this
Protective Order and sign the Undertaking attached hereto. The
Party seeking disclosure of the Information shall deliver (by
electronic mail) a copy of the executed Undertaking to each Party.

In the event that any of the in-house counsel identified above can
no longer serve as a designated in-house counsel in this action, the
designating Party may select a replacement person to view
Confidential Information of the Producing Party. The new in-
house counsel shall execute an Undertaking as required herein, and
shall otherwise comply with all terms of this Protective Order, and
the Party seeking disclosure to such person shall deliver (by
electronic mail) a copy of the executed Undertaking to each Party.

Ifa Party has a good faith basis for believing it would be harmed
by the proposed disclosure, the Party shall be entitled to object to
such disclosure within five (5) business days after service of the
Undertaking. Objections must be in writing and state with
particularity the basis for the objection.

In the event of such an objection to disclosure of Confidential
Information to a replacement in-house counsel, the Parties shall
meet and confer within three (3) business days to attempt to
resolve the concerns giving rise to the objection. If the parties are
unable to reach an agreement regarding such disclosure, the Party
objecting to disclosure may, within five (5) business days of the
meet and confer, request that the Court issue an order barring such
disclosure. The objecting Party shall have the burden of showing
why that person should not have access to Confidential
Information. Pending resolution of any such motion or
application, no disclosure of Confidential Information shall be
made to that person. The filing and pendency of such motion shall
not limit, delay, or defer any disclosures of Confidential
Information to persons as to whom no such objection has been
made.
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9, Use of Designated Materials:

(a)

(b)

(c)

Subject to Paragraph 17 below, Designated Materials shall be used by the
Receiving Party solely for the purposes of preparation for trial, pretrial
proceedings, and trial of actions and proceedings in this action, and not for
any business, commercial, regulatory, competitive, personal, or other
purpose or any other action, including without limitation that Designated
Materials disclosed in this litigation shall not be used in: (i) any other
action, including lawsuits against FDA; (ii) the prosecution of any patent
or patent application; (iii) the preparation or submission of any United
States FDA documents (including but not limited to Citizen Petitions), or
any similar documents in any foreign country; (iv) and marketing,
financial, pricing, or other business competitive decision-making (not
including settlement or other decision-making in the litigation).

Designated Materials may be disclosed by a Receiving Party during a
deposition, to the extent that its use is reasonably necessary, at the
depositions of the following:

(1) The present directors, officers, employees, agents or Rule 30(b)(6)
designees of the Producing Party;

(ii) An author, addressee, or other person indicated as a lawful
recipient of a document containing the information;

(iii) A person not within subparagraphs 9(b)(i)-(ii) above who is clearly
identified in prior discovery or by the deponent in his or her
deposition as an author or recipient of the information (without
prior disclosure of the Designated Materials);

(iv) A Persons authorized under Paragraphs 6, 7, and 8 of this
Protective Order to receive Designated Materials;

{v) | Any person for whom prior authorization is obtained from the
Producing Party or the Court; or

(vi) Individuals who have been identified through discovery (including
document production, written discovery or deposition testimony)
as having knowledge of the particular Designated Materials, even
if the individual is not identified as an actual author or recipient on
the face of the document at issue.

During depositions of any Party or non-party, a Party or non-party
claiming that information that is to be disclosed or upon which questions
may be based is Designated Material may exclude from the room for that
portion of the deposition any person who is not permitted to access such
Designated Materials under the terms of this Protective Order.
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10. Inadvertent Productions:

(a)

(b)

In the event any document is produced that the Producing Party later
claims is protected by the attorney-client privilege, work-product doctrine,
or other privilege or immunity, the Receiving Party shall, as soon as
possible but not later than within five (5) business days of receipt of a
written request by the Producing Party, return the original to the Producing
Party (or at the option of the Receiving Party destroy the original with
written verification provided to Outside Counsel for the Producing Party),
destroy, delete, or sequester all copies thereof, as well as all notes,
memoranda or other documents that summarize, discuss or quote the
document, and destroy, delete, or sequester any copy of the document, or
any portion thereof, from any word processing or database tape or disk it
maintains. Upon receiving notice of inadvertent production, the Receiving
Party(ies) shall not make any use of such document or thing or
disseminate the same in any way. The unintentional or inadvertent
production of privileged, work-product-protected or otherwise immune
documents in the course of discovery in this action shall not constitute a
waiver of any privilege, work-product-protection or immunity, either as to
the produced document or as to any other documents or communications
embracing the same or similar subject matter provided that the Producing
Party notifies the Receiving Party in writing of such unintentional or
inadvertent production promptly after the Producing Party discovers such
unintentional or inadvertent production. The return, destruction, deletion,
or sequestering of a document for which the Producing Party has asserted
a claim of privilege, work-product-protection or immunity under this
paragraph shall be without prejudice to the Receiving Party’s right to seek
an order from the Court directing production of the document on the
ground that the claimed privilege, work-product-protection or immunity is
invalid, inapplicable or waived, provided, however, that any motion or
other application for such order shall not rely upon in any manner or assert
as a ground the fact or circumstances of the unintentional or inadvertent
production, nor shall it disclose the substance of the inadvertently
produced material except to the extent that an in camera inspection of the
materials is requested.

Nothing herein shall prevent the Receiving Party from preparing and
keeping a record containing the date, author, email address(es), and such
other metadata as is reasonably necessary to identify a document or
communication a Producing Party later claims is protected by the attorney-
client privilege, work-product doctrine, or other privilege or immunity in
order to file a motion to compel production of the information. Such a
record may not be used for any purpose other than the preparation and
filing of a motion to compel. After the return, destruction, deletion, or
sequestering such a document or communication, the Receiving Party may
challenge the Producing Party’s claim(s) of privilege or immunity by
making an application to the Court.

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(c) Within five (5) business days of an order by the Court denying the
Receiving Party’s motion to compel, or if no motion to compel is filed
within fourteen (14) days of the receipt of the written request in (a) above,
the Receiving Party shall destroy or delete all copies of the withdrawn
document, as well as all notes, memoranda or other documents that
summarize, discuss or quote the document, and destroy or delete any copy
of the document, or any portion thereof, from any word processing or
database tape or disk it maintains

(d) Unintentional or inadvertent failure to designate any information as
“Confidential” or “Highly Confidential-Outside Counsel’s Eyes Only”
pursuant to this Protective Order shall not constitute a waiver of any
otherwise valid claim for protection, provided that the Producing Party
notifies the Receiving Party in writing of such unintentional or inadvertent
failure to designate no later than ten (10) business days after the Producing
Party discovers such unintentional or inadvertent failure to designate. In
the event of an unintentional or inadvertent failure to designate any
information, arrangements shall be made for the return to the Producing
Party, or the destruction or deletion of, all copies of the unintentionally or
inadvertently undesignated information and for the substitution where
appropriate, of properly labeled copies.

Il. Privilege Logs: Documents or communications created or taking place on or after
April 16, 2018, if subject to a claim of attorney-client privilege, work product protection, or any
other privilege or immunity, need not be included on a privilege log.

12. Redactions: Documents and things produced or made available for inspection
may be subject to redaction, in good faith by the Producing Party, of (i) information that relates
to drug products that do not contain vasopressin and is not otherwise relevant to this action or
reasonably likely to lead to the discovery of admissible evidence in this litigation, (ii)
confidential personally identifiable information (e.g., social security numbers, patient names,
dates of birth), or (iii) information that is subject to the attorney-client privilege or to the work-
product immunity. Each such redaction, regardless of size, shall be clearly labeled. All
documents redacted for reason (iii) shall be listed on a redaction log stating the basis for such
redaction. This Paragraph shall not be construed as a waiver of any Party’s right to seek
disclosure of redacted information.

13. Filing: All documents — including pleadings, motions and other papers —
containing Confidential Information shall be filed with the Court under seal in accordance with
the Court’s Local Rules and CM/ECF procedures.

14. Challenges to Confidentiality Designations: If the Receiving Party disagrees
with the confidentiality designation by the Producing Party, then the Receiving Party shall so
notify, in writing, Outside Counsel for the Designating Party. Outside Counsel for the
Designating Party and the Receiving Party shall first try to resolve such dispute within five (5)
business days after receipt of the Receiving Party’s notice. If the dispute cannot be resolved, the
Receiving Party, upon no fewer than three (3) business days written notice to the Designating

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Party, may seek a ruling from the Court that the information is improperly designated. Pending a
determination by the Court, such information shall be treated as designated by the Designating
Party. All Designated Materials are entitled to confidential treatment pursuant to the terms of
this Protective Order until, and unless, the parties formally agree in writing to the contrary or a
contrary determination is made by the Court.

15. Requests to Disclose Designated Materials to Non-Parties: If the Receiving
Party desires to disclose Designated Materials to someone other than persons authorized under
Paragraphs 6, 7, and 8 of this Protective Order, the Receiving Party must first request
permission, in writing, from the Designating Party’s Outside Counsel. The Designating Party
shall have seven (7) days after the receipt of such request to respond. If the Designating Party
denies the written request the Receiving Party may, upon no fewer than five (5) days written
notice to the Designating Party, move to compel disclosure of the Designated Materials. The
burden shall be on the Receiving Party to prove that such disclosure should take place and that
the interest of the Designating Party in limiting the dissemination of the Designated Materials is
outweighed by the need for such disclosure. Pending a determination by the Court, Designated
Materials shall be maintained as designated by the Designating Party and shall not be disclosed
to any person, except those authorized under Paragraphs 6, 7, and 8 of this Protective Order.

16. Preservation of the Right to Challenge Confidentiality Designation: No party
shall be obligated to challenge the propriety of a confidentiality designation, and a failure to do
so shall not preclude a subsequent challenge to the propriety of such designation. This Protective
Order shall be without prejudice to the right of any Party or other subscriber to this Protective
Order (a) to bring before the Court at any time the question of whether any particular document
or information is Confidential or Highly Confidential - Outside Counsel’s Eyes Only Information
or whether its use otherwise should be restricted or (b) to present a motion to the Court under
Fed. R. Civ. P. 26(c), for a separate protective order as to any such particular document or
information, including restrictions differing from those specified herein.

17. Other Proceedings:

(a) By entering this Protective Order and limiting the disclosure of
information in this case, the Court does not intend to preclude another
court from finding that information may be relevant and subject to
disclosure in another case. Any Person or Party subject to this Protective
Order who becomes subject to a motion to disclose another Party’s
information designated as “Confidential” or “Highly Confidential-Outside
Counsel’s Eyes Only” pursuant to this Protective Order shall promptly
notify that Party of the motion so that the Party may have an opportunity
to appear and be heard on whether that information should be disclosed.

(b) In the event any Receiving Party having possession, custody, or control of
any Designated Material receives from a non-party to this action a
subpoena or other process or order or discovery request to produce such
information in another, unrelated legal proceeding, such party (i) shall
notify counsel for the Designating Party of the subpoena or other process
or order or discovery request, and (ii) shall not produce or disclose the

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information until the Designating party has had reasonable time (at least
fourteen (14) calendar days, unless the deadline to respond to the
subpoena or other process or order or discovery request is earlier) to object
or take other appropriate steps to protect the information. The Designating
Party shall have the burden of defending against such subpoena or other
process, order, or discovery demand.

18. Client Consultation: Nothing in this Protective Order shall prevent or otherwise
restrict Outside Counsel or designated in-house counsel from rendering advice to their clients
and, in the course thereof, relying generally on examination of Designated Materials produced in
discovery in this action; provided, however, that in rendering such advice and otherwise
communicating with such clients, Outside Counsel or designated in-house counsel shall not
make specific disclosure of any item so designated except as permitted herein.

19. Modification Permitted: Nothing in this Protective Order shall prevent any Party
or other Person from seeking modification of this Protective Order, from objecting to discovery
that it believes to be otherwise improper, from applying to the Court for relief therefrom, or from
applying to the Court for further or additional protective orders, or from agreeing among
themselves to modify or vacate this Protective Order, subject to the approval of the Court. The
Court retains jurisdiction even after termination of this action to enforce this Protective Order
and to make such amendments, modifications, deletions and additions to this Protective Order as
the Court may from time to time deem appropriate.

20. Responsibility of Attorneys: The attorneys of record for each respective party
are responsible for employing reasonable measures, consistent with this Protective Order, to
control duplication of, access to, and distribution of copies of Designated Materials received by
them.

21. No Waiver: Review of Designated Materials as permitted in this Protective Order
in connection with this action shall not waive the confidentiality of the information or objections
to production. The inadvertent, unintentional, or in camera disclosure of Confidential
Information shall not, under any circumstances, be deemed a waiver, in whole or in part, of any
Party’s claims of confidentiality.

22. Purpose Is to Facilitate the Exchange of Information: This Protective Order is
entered solely for the purpose of facilitating the exchange of information between the Parties to
this action without involving the Court unnecessarily in this process. Nothing in this Protective
Order, nor the production of any documents or disclosure of any information pursuant to this
Protective Order, shall be deemed to have the effect of (a) an admission or waiver, including
waiver under the Federal Rules of Evidence or applicable Local Rules, by any Party or other
subscriber to this Protective Order; (b) altering the confidentiality of any such information; or
(c) altering any existing obligation of any party or other subscriber, or the absence of such
obligation.

23. Termination of the Litigation: Within 90 days after the final conclusion of this
litigation, including all appeals, all Discovery Materials designated as “Confidential” or “Highly
Confidential-Outside Counsel’s Eyes Only,” and all copies of the same, shall be returned to the

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Producing Party or, at the option of the Receiving Party, destroyed. This includes all notes,
memoranda or other documents that summarize, discuss or quote materials or information
produced and designated as “Confidential” or “Highly Confidential-Outside Counsel’s Eyes
Only,” except that, with respect to word processing and database tapes and disks, the Receiving
Party shall destroy or erase such tapes or disks to the extent practicable. Outside Counsel for
each Party shall be entitled to retain copies of all filings, their work product, any transcripts of
depositions, hearings or trial testimony in this action, written discovery or discovery responses,
as well as documents that have been marked as exhibits to a deposition and documents included
on trial exhibit lists and that contain or refer to information designated as “Confidential” or
“Highly Confidential-Outside Counsel’s Eyes Only” provided that all such documents shall
remain subject to this Protective Order. Outside Counsel of record shall make certification of
compliance herewith and shall deliver the same to Outside Counsel for the Producing Party not
more than 120 days after conclusion of this litigation, including all appeals.

24, No Limitations on Party’s Use of its Own Information: This Protective Order
shall not limit a Producing Party’s use of its own Designated Materials.

25. ‘Third Parties: If a third party provides Discovery Materials to any Party, such
third party may adopt the terms of this Protective Order with regard to the production of any
Confidential or Highly Confidential - Outside Counsel’s Eyes Only Information by executing a
Notice of Election to Adopt Stipulated Order on Confidentiality Agreement and Protective Order
(“Notice of Election”) in the form attached hereto. In the event of such election, the provisions
of this Protective Order shall apply to such Discovery Materials as if such Discovery Materials
were being provided by a Party to this litigation. Under such circumstances, the third party shall
have the same rights and obligations under this Protective Order as held by the Parties to this
litigation.

26. Information Not Covered by this Protective Order: The restrictions set forth in
this Protective Order will not apply to Designated Materials that are in the possession of or
otherwise known to the Receiving Party or the public before the date of its transmission to the
Receiving Party, or which comes into the lawful possession of or becomes known to the
Receiving Party or comes into the possession of or otherwise becomes known to the public after
the date of its transmission to the Receiving Party, provided that, as shown in written records,
such information does not become publicly known by any act or omissions of the Receiving
Party which would be in violation of this Protective Order or otherwise violate any
confidentiality obligation owed to a Party.

27. Survival: This Protective Order shall survive and remain in full force and effect
after termination of this action. Neither the termination of this lawsuit nor the termination of
employment of any person with access to any Designated Materials shall relieve such person
from the obligation of maintaining the confidentiality of such information.

28. Pending Entry by the Court: Until such time as this Protective Order has been
entered by the Court, the parties agree that upon execution by the parties, it will be treated as
though it had been “So Ordered.”

The undersigned counsel of record stipulate that the Court should enter the above

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Protective Order as an order of the Court, and further stipulate that the Protective Order shall
constitute a binding contract among the Parties and their counsel.

AGREED AND STIPULATED TO:

 

 

Dated: , 2019

Respectfully submitted, Respectfully submitted,

By:_/s/ By:_/s/
Attorneys for Plaintiffs Par Attorneys for Defendant Amphastar
Pharmaceutical, Inc., Par Sterile Pharmaceuticals, Inc.

Products, LLC, and Endo Par Innovation
Company, LLC

wt [Soa
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SO ORDERED, this __ day of January, 2019.

 

The Honorable Colm F. Connolly
United States District Court Judge

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UNDERTAKING AND ACKNOWLEDGEMENT OF
PROTECTIVE ORDER AND CONFIDENTIALITY STIPULATION

I, , hereby attest as follows:

 

l. I understand that CONFIDENTIAL and/or HIGHLY CONFIDENTIAL-
OUTSIDE COUNSEL’S EYES ONLY material may be disclosed to me under the terms of the
Protective Order attached to this Undertaking and Acknowledgement. I have a copy of and have
read the Order, and I agree to comply with and be bound by its terms. | also agree to be subject
to the jurisdiction of this Court for the purpose of enforcing this Order and this agreement.

2. [ agree that I will not disclose to anyone else the CONFIDENTIAL and/or
HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL’S EYES ONLY material disclosed to me,
nor discuss or describe the substance or content of such material, except as provided in the
Order, and that I will use such material only for the purposes of this litigation.

3. I agree that I will not keep any CONFIDENTIAL and/or HIGHLY
CONFIDENTIAL - OUTSIDE COUNSEL’S EYES ONLY material or copies of any such
material (including notes or other memoranda or writings containing or relating to such material)
except to the extent permitted by the Order, and, upon request, will destroy or return such

material to the attorneys who disclosed such material to me.

Dated:

 

Signature

=f T's
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NOTICE OF ELECTION TO ADOPT STIPULATED ORDER
ON CONFIDENTIALITY AGREEMENT AND PROTECTIVE ORDER

1. , anon-party to the above-captioned litigation,

 

has been requested and/or subpoenaed by a party to produce discovery containing Confidential
Information and/or Highly Confidential - Outside Counsel’s Eyes Only Information in
connection with the above-captioned litigation.

x, hereby elects to adopt the terms of the Stipulated

 

Confidentiality Agreement and Protective Order (herein, the “Protective Order”) with regard to
its terms regarding production of Confidential Information and/or Highly Confidential - Outside

Counsel’s Eyes Only Information.

 

3. The provisions of the Protective Order shall apply to all documents, things and
other information produced by as if such discovery were being
provided by a party. shall have the same rights and obligations

 

under the Protective Order as held by the parties.

Dated:

 

Name

 

Company

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EXHIBIT 3
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

PAR PHARMACEUTICAL, INC., PAR
STERILE PRODUCTS, LLC and ENDO
PAR INNOVATION COMPANY, LLC,

Plaintiffs, C.A. No. 18-2032-CFC

Vv.

AMPHASTAR PHARMACEUTICALS INC.,

Mme Nae Nee ee Ne ee ee ee ee ee

Defendant.

 

[PROPOSED] PROTECTIVE ORDER

WHEREAS the Parties agree that the nature of this case will require them to seek and
produce documents and information, and elicit deposition testimony, the disclosure of which
poses a substantial risk of harm to the Producing Party’s legitimate proprietary interests;

WHEREAS the Parties agree that a protective order is necessary to minimize the harm
flowing from the disclosure of sensitive information; and

WHEREAS the Parties agree to the terms of this Order to protect their confidential
documents, things and information;

IT IS HEREBY ORDERED THAT the Parties and any non-party subject to discovery in
this action are bound by the terms of this Protective Order governing the production of
Confidential Information in this action.

I. Scope of Protective Order: This Protective Order applies to all Discovery
Materials produced by a Producing Party in connection with this action. In addition, this
Protective Order allows for the filing of documents with the Court under seal, subject to any
applicable Local Court Rule or CM/ECF procedure, if such documents contain Confidential
and/or Highly Confidential Information. This Protective Order shall apply regardless of whether
such information was produced prior to or after entry of this Protective Order.

2. Definitions:

(a) The term “Confidential Information” means any confidential, proprietary,
or commercially sensitive information, inclidine confidential proprietary
orsensittye-desien -developmentteehiieat-ommnanuhactirine itecntation:
asswelLas-anyinfermation-which is not generally known and which the
Producing Party would not normally reveal to third parties or would cause
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(b)

third parties to maintain in confidence and/or which the Producing Party
reasonably and in good faith believes is of the type protectable under Rule
26(c)(1)(G) of the Federal Rules of Civil Procedure or is required to be
kept Confidential by law or by agreement with a third party or otherwise.
“Confidential Information” shall not include: (i) materials that show on
their face that they have been disseminated to the public; (it) information
that the Producing or Designating Party agrees, or the Court rules (a) is
already public knowledge, (b) has become public knowledge other than as
a result of disclosure by the Receiving Party, its employees or agents in
violation of this Protective Order, or (c) has come into the Receiving
Party’s legitimate knowledge or possession independently of the
Producing Party under conditions such that its use and/or public disclosure
by the Receiving Party would not violate any obligation to the Producing
Party; or (iii) materials that have been designated “Highly Confidential”
under this Protective Order. Any summary, compilation, notes,
memoranda, analysis or copy containing Confidential Information and any
electronic image or database containing Confidential Information shall be
considered Confidential Information to the same extent as the material or
information from which such summary, compilation, notes, copy,
memoranda, analysis, electronic image, or database is derived.

The term “Highly Confidential — Outside Counsel’s Eyes Only
Information” shall include and be limited to the following specific
categories of particularly competitive and sensitive business information:

(i) Proprietary information, such as, without limitation, Abbreviated
New Drug Applications (“ANDA”) (including any supplements or
amendments), New Drug Applications (“NDA”), Drug Master

 

 

Files (“DMEF”), research and development information (including,
for example, laboratory notebooks), and non-public regulatory
filings:

()(il)_ The purchase price, purchase date, and quantity for the active
ingredient;

Gij(iii) Highly sensitive business competitive marketing plans, market
research and business strategy documents, including research
regarding competitors, relating to the vasopressin market;

4i+\(iv) Forecasted and/or actual sales of a party’s vasopressin product, the
number of products sold, total dollar value of products sold, and
any profit or expense data, including profit margins;

(e4(v) Identity of current or prospective customers and distributors of a
party’s vasopressin product; and
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(d)

(c)

(f)

(g)

(h)

(:4(v1) Such other information as may be agreed by the parties, or ordered
by the Court on motion by the Producing Party, to be sufficiently
commercially sensitive as to warrant such designation.

GH (vii) Any summary, compilation, notes, memoranda, analysis or
copy containing Highly Confidential - Outside Counsel’s Eyes
Only Information and any electronic image or database containing
Highly Confidential - Outside Counsel’s Eyes Only Information
shall be considered Highly Confidential - Outside Counsel’s Eyes
Only Information to the same extent as the material or information
from which such summary, compilation, notes, copy, memoranda,
analysis, electronic image, or database is derived.

The term “Discovery Material” means any documents, tangible or
intangible information, or things (including, without limitation, any
writings, video or audio tapes, computer-generated or recorded
information in any form, materials, oral or written testimony,
interrogatories, answers to interrogatories, requests for admission,
responses to requests for admission, document requests, responses to
document requests, deposition notices, deposition testimony, deposition
transcripts and exhibits, and other responses to requests for information or
any tangible thing) produced or disclosed by a Party or non-party in this
action.

The term “Designated Material” shall mean any Discovery Material
designated by a Producing Party as Confidential or Highly Confidential -
Outside Counsel’s Eyes Only Information.

The term “Designating Party” means any Party or Person who designates
Discovery Material as “Confidential” or “Highly Confidential - Outside
Counsel’s Eyes Only.”

The term “Producing Party” means any Party or Person who produces or
discloses any Discovery Material.

The term “Receiving Party” means any Person to whom Confidential
Information is disclosed in this action.

The terms “Parties” or “Party” mean the following plaintiffs and/or
defendants in this civil action: Par Pharmaceutical, Inc., Par Sterile
Products, LLC, Endo Par Innovation Company, LLC, and Amphastar
Pharmaceuticals, Inc., and any other parties that may hereafter be named
as additional plaintiffs or defendants in this action. In the event of
consolidation of this action with any action, the parties added to this action
will not be considered “Parties” or a “Party” for purposes of this
Protective Order, without agreement by all original Parties to this
Protective Order. The Parties to this Protective Order agree to meet and
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(i)

confer as needed in order to negotiate terms and/or revisions to this
Protective Order that may be necessary to accommodate the addition of a
consolidated party to the Protective Order.

__The term “Person” means any natural person or any business, legal or
governmental entity or association.

(A(j)_ The term “Outside Counsel” means litigation counsel of record for the

Parties, including associated personnel necessary to assist outside counsel
in this action, such as legal assistants, paralegals, secretarial, stenographic,
information technology and clerical employees actually assisting such
counsel; outside vendors that scan, code and/or produce documents at such
counsel’s request; translation services; computer services; and trial
consultants, their employees, and independent contractors hired to assist
them, other than those persons described in paragraph 2(i)(iii) below.

3. Designation of Confidential and/or Highly Confidential - Outside Counsel’s
Eyes Only Information:

(a)

(b)

(c)

Discovery Material, or any relevant portion of any letter, brief, motion,
affidavit, discovery response, discovery request, or other pleading, may be
designated by any Producing Party as “Confidential” or “Highly
Confidential-Outside Counsel’s Eyes Only,” provided the material meets
the definitions thereof provided herein.

Such designations shall be made or supervised by an attorney and shall be
based on a good faith belief that Designated Materials are entitled to
protection under the terms of this Protective Order. Any information
supplied in documentary or other tangible form may be designated by the
Producing Party, or other Person claiming that the information is
Confidential or Highly Confidential Information, by placing or affixing on
each page of such Document, or on the face of such thing, the legend
“CONFIDENTIAL — PURSUANT TO PROTECTIVE ORDER” or
“HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL’S EYES ONLY —
PURSUANT TO PROTECTIVE ORDER” respectively. Information,
documents, articles and things previously produced under protective
orders in other cases that bear appropriate confidentiality markings from
such other cases, need not be stamped again; such material stamped
“Confidential Information” produced in this litigation will be treated as
Confidential Information, and such material stamped “Highly Confidential
— Attorneys’ Eyes Only” produced in this litigation will be treated as
Highly Confidential - Outside Counsel’s Eyes Only Information, in
accordance with the terms of this Protective Order.

Designated Testimony: Testimony obtained from a deposition or hearing
may be designated “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -
OUTSIDE COUNSEL’S EYES ONLY” when appropriate, either on the
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EXHIBIT 4
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5/15/2019 Endo | Management Team

Careers Contact

 

Overview

A Message from the President

 

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Board of Directors Campane had aso served as Sen or V ce Pres dent Bus ness Deve opment& censng Execut ve V ce

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drectors He aso served on the board of d rectors of Sky Growth Ho d ngs Corporat on from 2012 unt 2015
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Companes nc Mr Campane served as V ce Pres dent Bus ness Deve opment at Dr Reddy s aborator es

td where he was emp oyed from 1992 to 2001 Mr Campane earned hs Bache or of Sc ence degree from
Sprngtied Co ege

Patrick Barry

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effect ve February 26 2018 nthsroe hehasresponsb ty fora commerca actvtes
for US Branded Pharmaceut cas ncudng strategy new product p annng market ng

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Vce Pres dent and Head of US Specatyfrom Apr 2014 unt August 2015 Durngthstme Mr Barry
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Blaise Colemat

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promoted to Sen or V ce Pres dent G oba F nance Operat ons n November 2015 Pr or fo onng Endo Mr

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5/15/2019 Endo | Management Team

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b opharmaceut ca company most recent y as the Ch ef Fnanca Officer of the
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of F nance for the AstraZeneca G oba Med c nes Deve opment organ zat on based n
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mted atter y as the Pres dent and Ch ef Execut ve Officer of G enmark Gener cs nce USA/G enmark
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th re | Aon ae Ee
Matti ew J. Maletta

Matthew J Ma etta has served as Endo s Execut ve V ce Pres dent and Chef ega Officer
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Counse and Corporate Secretary of A ergan nths poston he served as an adv sor to
the Ch ef Execut ve Officer and Board of D recters and superv sed severa arge

 

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and Persh ng Square Cap ta Management n2014 Mr Maetta oned A ergan n 2002 and dur nghs tenure
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Tony Pera was named Pres dent Par Pharmaceut ca effect ve November 1 2016 nths
roe Mr Pera eads EndosUS Gener cs bus ness nc udngresponsb ty and overs ght
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ana yt cs group Mostrecent y Mr Pera served as Ch ef Commerce a Officer of Par
Pharmaceutca He oned Par n February 2014 as part of Pars acqu ston of JHP

 

Pharmaceut ca wherehehedasm arposton As ChefCommerc a Officer Mr Pera
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Par Mr Pera was Sen or V ce Pres dent of Supp y Chan Management for Amer sourceBergen (ABC) ama or
US pharmaceut ca who esa er for approx mate y five years Prorto ABC he he d numerous sen or

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Endo | Management Team

and yphoMed Mr Pera started hs career as asa es representat ve for the parentera products dvs on of

Baxter He current y serves as the Secretary-Treasurer of the Board of D rectors for the Gener c

Pharmaceut ca Assoc at on (GPhA) Mr PerahodsaBS nBusness Admn strat on from the Un vers ty of
nos nChampagnandanMBA from DePau Un vers ty

losepn A. Barbarite

Joseph A Barbar te s Execut ve V ce Pres dent Goba Qua ty and Comp ance effect ve
November 2016 He oned Endo n 2015 as the Sen or V ce Pres dent G oba Qua ty and
Comp ance for Par Pharmaceut ca fo owngEndos acqustonofPar Mr Barbar te

br ngs over 35 years of pharmaceut ca qua ty and comp ance exper ence cover ng bath
yj gener c and branded organ zat ons Prorto onng Par n2004 hehed eadersh pro es

 

: nCommere a and Pre-Commerca Qua ty at Forest Research nst tute and Forest
aborator es nc PrortoForest aborator es he he d management pos t ons at Nycomed ne and at Ster ng

Whrthrop ne Ear er nhscareer Mr Barbar te he d QA aud tng postonsat Organon ne andAtana ne He

started hs career at N ce-Pak Products ne as the Qua ty Assurance Superv sor Mr Barbar te hodsa

Bache or of Sc ence n Bo ogy from Fordham Un vers tyas we asa Qua ty Eng neer cert ficat on from the

Amer can Soc ety for Qua ty

Mark Bi adley

Mark Brad ey current y serves as SVP Corporate Deve opment & Treasurer Mr Brad ey
o ned Endo n January 2007 as aF nance D rector and has he d var ous pos t ons of
ncreas ngresponsb tysnce onngthe company Prorto onngEndo he spent near y
7 years as a management consu tant most recent y w th Deo tte Consutng provdnga
broad range of strateg c and operat ona adv ce and serv ces to sen or execut ves across

 

anumber of ndustres naddton Mr Brad ey served as a F nance D rector for an
ndustr a products company for approx mate y 2 years He spent the first 5 years of hs career npub c
account ng at Ernst & Young PandrecevedhsCPA n October 1993 Mr Brad ey ho ds a Bache or of

Se ence degree n Account ng from Sa nt Joseph s Un vers ty and a Master of Bus ness Adm n strat on from
The Un vers ty of Texas at Austn

Larry Cunningham

arry Cunningham Execut ve V ce Pres dent Human Resources oned Endo nMay
2008 nthsroehe eadsa aspects of human resources nenab ng the deve opment
and growth of Endo Prorto onng Endo Mr Cunnngham ed Johnson & Johnsons
g oba recru t ng and ta ent acqu s t on organ zat on Mr Cunnngham aso has extens ve
bus ness-based human resources eadersh p exper ence He was V ce Pres dent Human
Resources for DePuy ne awho y owned subs dary of Johnson & Johnson wh ch he

 

oned fo owng the acqu st on of Centocor where he was V ce Pres dent Human Resources Pr orto onng
Centocor Mr Cunn ngham ga ned extens ve domest c and nternat ona exper ence n human resources
management and organ zat on deve opment at Rhone-Pou enc Rorer (now Sanofi-Avent s) and Corn ng

C nca_ aborator es (now Quest D agnostcs) Mr CunnnghamhodsaBA n abor Stud es fram the
Pennsy van.a State Un vers ty and a Master of Sc ence n Bus ness Admn strat on from Temp e Un vers ty

Rahul Garella

Rahu Gare awas appo nted Sen or V ce Pres dent Head of nternat ona

Pharmaceut cas n November 2016 and hasresponsb ty for Endos nternat ona

bus nesses ncudngPaadn abs Par aboratores Europe td Grupo Farmaceut co
SOMAR and tha Hea theare Mr Gare ahas 20 years exper ence nthe pharmaceut ca
ndustry across AP s and fin shed dosages w th broad nternat ona exper ence across

 

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the European As anand atnAmercamarkets He oned Par n November 2014 and was tasked w th

estab shngPar aboratores Europe meted nthe Unted Kngdamwthresponsb ty for bu dngup the
commerce a and regu atory nfrastructure operat ng team and product p pe ne across gener ¢ and branded
products Prorto onngPar Mr Gare aserved as Sen or V ce Pres dent for G enmark Pharmaceut cas
Europe mted for the Western European gener cs bus ness from 2008 unt 2014 and European and atn
Amer can AP bus ness from 2005 unt 2008 Prev ous y he worked w th Ranbaxy nthe r As a-Pac ficd vs on
and Orch d Chem cas & Pharmaceut cas He ho ds a Master of Bus ness Adm n strat on (PGDBM) from the
nst tute of Management Techno ogy ndaaswe asa Bache or degree nE ectr ca Eng neer ng from the
Facuty of Engneerng JamaM a NewDeh nda

Carrie A. Nichol

Carre A Ncho was appo nted V ce Pres dent Contro er and Ch ef Account ng Officer
effect ve Apr 2 2018 Ms Ncho onedthe Company n March 2015 as D rector of
Conso dat ons and F nance a Systems and n September 2015 was promoted to

Ass stant Contro er Prorto onngthe Company Ms N cho was SVP & Contro er of
Haas Group nternat ona (now Wesco Arcraft Hodngs ne) where she ed the g oba

 

account ng and finance teams from June 2011 unt March 2015 Ms Ncho asopayeda

ertca roe nHaas Group nternat ona ssaeto Wesco ArcraftHodngs ne n2014 Pr orto her

emp oyment w th Haas Group nternat ona Ms N cho was wth KON Office So ut ons (now R coh Company
td ) for a tota of five years from June 2008 unt June 2011 and from June 2003 unt Ju y 2005 hav ng

served most recent y as the D rector of Fnanc a Report ng and Corporate Account ng where she was

respons befora pub cfi ngsandtechnca and corporate account ng From December 2005 unt June

2008 Ms N cho was wth Advanced Meta urg ca Group NV serv ng as Ass stant Contro er Ms N cho began

her career npub caccountngat KPMG P She sa censedcert fied pub c accountant nthe

Commonwea th of Pennsy van a and ho ds a Bache or of Sc ence degree n Bus ness Management wtha

mnor nAccountng from W dener Un verstyaswe asanMBA nF nance from V anova Un vers ty Ms

N cho serves as a Sect on 16(b) Officer

Laure Park

aure Park was appo nted Sen or V ce Pres dent nvestor Re at ons and Corporate
Affa rs effect ve August 2 2018 nthsroe Ms Park srespons befor ead ng Endos
nvestor Re at ons and Corporate Affarsteams ncudng nterna commun cat ons and
engagement aswe as corporate commun cat ons and pub creatons Prorto onng
Endo Ms Park spent 23 years at Quest D agnost cs where she he d key eadersh p ro es

 

nd fferent funct ona areas nc ud ng finance nvestor re at ons and commun cat ons
Most recent y she served as Quest D agnast cs V ce Pres dent Customer Exper ence where she was
respons be for bu dng a customer-focused cu ture and represent ng the customer nthe des gn andde very
of the customer exper ence Pr or to that Ms Park was V ce Pres dent of Commun cat ons & nvestor

Re at ons respons b e for ead ng nvestor re at ons and ntegratng twththe nterna and externa

commun cat ons funct ons She aso served as the V ce Pres dent & Genera Manager of the r Prescr pt on
Drug Mon tor ng bus ness Ms Park began her career n pub c account ng w th De otte & Touche n1987 She
$s amember of the Hea theare Bus nesswomens Assoc at on (HBA) and ho ds bache ors degrees n
Account ng and Commun cat ons from the Un vers ty of North Dakota

Brandon Rockwell

Brandon Rockwe was appo nted Sen or V ce Pres dent of Bus ness Deve opment and
Strategy effect ve March 2018 nhsroe hehasrespons b ty for the company-w de

Bus ness Deve opment Pro ect Management and Portfo o Management groups and

pays an ntegra roe nsett ng the strateg c d rect on for the Company Most recent y
| Mr Rockwe served as V ce Pres dent of Bus ness Deve opment at Par Pharmaceut ca
Brandon had o ned Par Pharmaceut ca n 2007 and hed key ro es nsett ng the

 

strateg c d rect on of the company through the Par s acqus t ons and the ntegrat on of Qua test and Par n
hstenure Mr Rockwe has he da number of progress ve eadersh p ro es n bus ness deve opment pro ect

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management and nformat onsystems Mr Rockwe has a Bache or of Sc ence from Grove C ty Co ege anda
Master of Bus ness Adm n strat on from New Jersey nst tute of Techna ogy

Susan Williamson

Susan W  amson was appo nted Sen or V ce Pres dent and Chef Comp ance Officer
effect ve Apr 1 2018 nthsroe she srespons be for the strateg cd rect on and
operat ons of Endos G oba Corporate Comp ance program Ms W amson oned Endo
n 2012 and has been a va ued member of Endo s Corporate Comp ance eadersh p

   
 
 

team prev ous y sery ng as Endo s V ce Pres dent and US and Canad an Comp ance
“1, Officer where she was respons b e for overs ght of Endo s Corporate Comp ance
program ne ud ng management of Endo s Corporate ntegr ty Agreement (C A) enterpr se w de corporate
comp ance tran ng and mon tor ng and Aggregate Spend report ng Prorto onngEndo Ms W amson
worked at Pfizer n Operat ona Rsk Management support ng Pfizer s C A fromm 2009 to 2012 Pr or to her
emp oyment w th Pfizer Ms W_ arson spent over five years at Wyeth Pharmaceut cas and hed key roes n
bu dng deve op ng and mp ementngaG oba Corporate Comp ance program Ms W amson began her
career npub c account ng at Ernst & Young nthe Assurance and Adv sory Pract ce Ms W amson sa
Cert fied Pub ¢ Accountant and ho ds a Bache or of Sc ence degree n Account ng from Sa nt Josephs

Un vers tyaswe asanMBA fromthe Er van kK Haub Schoo of Bus ness at St Josephs Un vers ty

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EXHIBIT 5
Contact

www linkedin.com/in/lawrence-
brown-3aa6329 (LinkedIn)

Top Skills

Patent Prosecution

Intellectual Property

Licensing

 

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Lawrence Brown

Vice President/Assistant General Counsel at Par Pharmaceutical

Summary

Experienced Assistant General Counsel with a demonstrated history
of working in the pharmaceuticals industry. Strong professional
skilled in Patent Litigation, Client Counseling, Life Sciences, Patent
Prosecution, and Strategy.

 

Experience

Par Pharmaceutical

Vice President and Assistant General Counsel, IP - Generics
May 2007 - Present

K&L Gates
Associate
September 2006 - May 2007 (9 months)

Frommer Lawrence & Haug

Associate
April 2005 - August 2006 (1 year 5 months)

Ropes & Gray/Fish & Neave

Patent Agent
February 2002 - March 2005 (3 years 2 months)

Education

Fordham University School of Law
J.D., Law - (2002 - 2005)

Princeton University
Ph.D., Molecular Biology - (1996 - 2001)

Harvard University

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A.B., Biochemical Sciences - (1992 - 1996)

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